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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            WAYCROSS DIVISION



              UNITED STATES OF AMERICA


                    vs.                                              CASE NUMBER.: CR592-29

              BENJAMIN LASHAWN COOPER




                                                     ORDER

                    Benjamin Cooper ("Cooper") filed Objections to the Magistrate Judge's Report

              dated April 5, 2012, which recommended that Cooper's Motion entitled "Rule 60(b)

              Motion and Combined Affidavit for the Court to Adjudicate the Baile y Claim Previously

              Filed Under § 2255" be dismissed as untimely. After an independent and de novo

              review of the record, the undersigned agrees with the Magistrate Judge's Report and

              Recommendation.

                     In 1993, a jury convicted Cooper of conspiracy to possess with the intent to

              distribute cocaine base, in violation of 21 U.S.C. § 846, and of use of a firearm during a

              drug trafficking offense, in violation of 18 U.S.C. § 924(c). (Doc. Nos. 1085, p. 2, and

              1086, p. 1). Cooper appealed, and the Court of Appeals for the Eleventh Circuit

              affirmed his convictions and sentences on October 26, 1995. (Doc. Nos. 1085, p. 2,

              and 1086, p. 2). The Eleventh Circuit denied Cooper's Petition for Rehearing on

              February 1, 1996. (Doc. No. 1086, p. 2).



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                     On June 24, 1996, Cooper filed a motion to vacate, set aside, or correct his

              sentence, pursuant to 28 U.S.C. § 2255. (Id.) (referencing Coo per v. United States,

              CV596-060). Cooper states that he filed the 1996 § 2255 motion "[following the

              Supreme Court's decision in Baile y v. United States, 516 U.S. 137 (1995), wherein the

              Court held that 'use' in § 924(c)(1) required 'an active em p loyment of the firearm by the

              defendant.' Id., at 143." (Doc. No. 1085, P. 2). Cooper states that, in that motion, he

              argued that the decision in Baile y rendered his § 924(c)(1) conviction invalid and that he

              "also argued against the drug quantity attributed to him in the conspiracy charge." (Id.).

              Cooper avers that this Court denied his motion on the drug quantity issue but did not

              address the Bailey claim. (Id.).

                     In July 2009, Cooper filed a second § 2255 motion. (Doc. No. 1086, p. 3)

              (referencing Coo per v. United States, CV509-038). Three weeks later, Cooper filed a

              "Motion for Hearing on Issue of Factual Dispute," wherein, according to the government,

              Cooper cited to Bailey for the first time. In April 2010, this Court dismissed Cooper's

              2009 § 2255 motion as successive. (Doc. No. 1086, pp. 3-4).

                     On March 12, 2012, Cooper filed the instant Motion, wherein he seeks

              adjudication of his previously-filed Baile y claim. The Motion is docketed in United

              States v. Cooper, CR592-029-6. It is unclear whether Cooper seeks relief from the

              judgment entered in CR592-029-6 or from the judgment entered in CV596-060. Cooper

              does not mention CV509-038 in his Motion. However, the government addressed the

              Motion as if Cooper is seeking relief from the judgment entered in CV509-038 because

              it was, according to the government, in relation to that § 2255 motion where Cooper first

              brought a claim pursuant to Baile y . The Magistrate Judge analyzed the timeliness of



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              the instant Motion as if it sought relief from CV509-038 because it is the most recent of

              the three relevant judgments.

                     In his Objections, Cooper first argues that his second § 2255 motion, CV509-038,

              should have been construed as a petition brought pursuant to 28 U.S.C. § 2241. This is

              not the proper forum for such an argument.

                    Second, Cooper states that he filed the instant Motion under Rule 60(b)(4).

              Because he did not make that clear until now, the Magistrate Judge analyzed the

              Motion under Rule 60(b)(6). However, for the purpose of timeliness, the difference is

              inconsequential. Like motions brought under Rule 60(b)(6), motions brought under Rule

              60(b)(4) "must be made within a reasonable time. . . after the entry of the judgment or

              order[.J" FED. R. Civ. P. 60(c)(1). Third, Cooper states that he brought the instant

              Motion under Rule 60(b)(4) "where the original judgement [sic] for his 1993 conviction

              under 18 U.S.C. § 924(c)(1) was rendered void by the Supreme Courts [sic] intervening

              decision in IBaileyl." (Doc. No. 1099, pp. 1-2). The instant Motion cannot proceed for

              two reasons. First, the undersigned agrees with the Magistrate Judge's determination

              that Cooper's Motion is untimely. (See Doc. No. 1087, pp. 3-4). Second, Rule 60(b) is

              not an available avenue for Cooper to seek relief from the judgment entered in his 1993

              criminal case. See FED. R. Civ. P. 1.

                     Finally, in his Objections, Cooper states that his attorney who dealt with his first §

              2255 motion, CV596-060, was ineffective for failing to file the Bailey claim in that

              motion. Again, this is not the proper forum for such an argument.

                     Cooper's Objections to the Magistrate Judge's Report and Recommendation are

              without merit and are overruled. The Report and Recommendation of the Magistrate



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              Judge, as supplemented by this Order, is adopted as the Opinion of the Court.

              Cooper's Rule 60(b) Motion is DISMISSED.



                                                         Lj
                    SO ORDERED, this          day of                         ,2012.




                                                             HONOBLE J. RANDAL HALL
                                                             UNITEID STATES DISTRICT JUDGE




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